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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case




                                                                        for the
                                                            District of New Jersey

                                                                    Civil Division



                            Jay Brodsky                                    )      Case No.
                                                                          )                       (to be filled in by the Clerk's Office)
                                                                          )
                              Plaintiff(s)                                )
(Write the full name of each plaintiffwho is filing this complaint.
If the names ofall the plaintiffe cannot fit in the space above,
                                                                          )       Jury Trial:   (check one)   ~ Yes 0No
please write "see attached" in the space and attach an additional         )
page with the full list of names.)                                        )
                                  -v-                                     )
      Dealer Services, Palmer Administrative Services,                    )
       Liberty Automotive Protection, Royal Protection                    )
     Program, American Mercury, Michael Shaftel, Evan
                                                                          )
               Michaels, John & Jane Doe et al
                                                                          )
                              Defendant(s)
(Write the full name of each defendant who is being sued. If the
                                                                          )
names of all the defendants cannot fit in the space above, please         )
write "see attached" in the space and attach an additional page           )
with the full list of names.)



                                                   COMPLAINT FOR A CIVIL CASE

I.         The Parties to This Complaint
           A.        The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                                Name                                  Jay Brodsky
                                Street Address                        240 East Shore Road, Apt. 444

                                City and County                       Great Neck        Nassau County

                                State and Zip Code                    New York     11023
                                                                                                          -------·-·--·--------~--- - -
                                Telephone Number                      973-568-1666

                                E-mail Address                        demcointerexport@yahoo.com



           B.        The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known). Attach additional pages if needed.


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                      Defendant No. 1
                                Name                         Palmer Administrative Services
                                Job or Title (if known)
                                 Street Address              3430 Sunset Avenue
                                City and County              Ocean        Ocean County
                                 State and Zip Code          New Jersey     07712
                                 Telephone Number            800-599-9557
                                 E-mail Address (if known)   info@palmeradministration.com


                     Defendant No. 2
                                Name                         Dealer Services
                                Job or Title (if known)
                                Street Address               3430 Sunset Avenu
                                City and County              Ocean        Ocean County
                                 State and Zip Code          New Jersey     07712
                                 Telephone Number            732-918-9299
                                E-mail Address (if known)    Dealerservices. info


                     Defendant No. 3
                                Name                         Liberty Automotive Protection
                                Job or Title (if known)
                                 Street Address              3430 Sunset Avenue
                                City and County              Ocean             Ocean County
                                State and Zip Code           New Jersey     07712
                                Telephone Number             (732) 807-5611
                                E-mail Address (if known)    sales@dealerservices.info


                     Defendant No. 4
                                Name                         Michael Shaftel
                                Job or Title (if known)      Owner/President/CEO
                                Street Address               3430 Sunset Avenue
                                City and County              Ocean     Ocean County

                                State and Zip Code           New Jersey 07712

                                Telephone Number             800-599-9557

                                E-mail Address (if known)



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II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
                 ~Federal question                               ~ Diversity of citizenship

          Fill out the paragraphs in this section that apply to this case.

          A.        If the Basis for Jurisdiction Is a Federal Question

                    List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                    are at issue in this case.
                      Violation of the Telephone Consumer Protection Act 1991 (TCPA), 47 U.S.C.A. § 227 et seq., Sections
                      5(a), 5(m)(1 )(A), 13(b), and 16(a) of the FTC Act, 15 U.S.C. §§ 45(a), 45(m)(1 )(A), 53(b), Section 6 of
                      the Telemarketing and Consumer Fraud and Abuse Prevention Act (the 'Telemarketing Act"), 15 U.S.C.
                      § 6105, Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), FTC Telemarketing Sales Rule ('TSR"), as
                      amended, 16 C.F.R. Part 310
          B.        If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.        The Plaintiff(s)

                               a.        If the plaintiff is an individual
                                         The plaintiff, (name) Jay Brodsky                                    , is a citizen of the
                                                                 -----------------
                                         State of (name) New York State


                               b.        If the plaintiff is a corporation
                                         The plaintiff, (name)                                                , is incorporated
                                                                     ---------------
                                         under the laws of the State of (name)
                                         and has its principal place of business in the State of (name)



                               (If more than one plaintiff is named in the complaint, attach an additional page providing the
                               same information for each additional plaintiff)

                    2.         The Defendant(s)

                               a.        If the defendant is an individual
                                         The defendant, (name)                                                , is a citizen of
                                                                    ----------------
                                         the State of (name)                                                0 r is a citizen of
                                         (foreign nation)


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                                 b.        If the defendant is a corporation
                                           The defendant, (name)    Palmer Administrative Services           , is incorporated under
                                           the laws of the State of (name)     Texas                                   , and has its
                                                                               ----------------
                                           principal place of business in the State of (name)   New Jersey
                                                                                                  --------------
                                           0 r is incorporated under the laws   of (foreign nation)
                                           and has its principal place of business in (name)

                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same information for each additional defendant)

                     3.         The Amount in Controversy

                                The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                stake-is more than $75,000, not counting interest and costs of court, because (explain):

                                 More Than $75,001.00




III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.


          See attached complaint




IV.       Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.


          See attached complaint




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V.         Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best ofmy knowledge, information,
          and belief that this complaint: ( 1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.

                     Date of signing:


                     Signature of Plaintiff
                     Printed Name of Plaintiff     Jay Brodsky


          B.         For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name ofLawFirm
                     Street Address
                     State and Zip Code
                     Telephone Number
                     E-mail Address




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